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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

 

Alliance for Hippocratic Medicine, et a/.,
Plaintiffs,
Vv.
U.S. Food and Drug Administration, ef a/.,

Defendants.

 

 

Case No. 2:22-cv-00223-Z

Defendants’ Notice of Appeal

PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the Fifth Circuit from this Court’s Memorandum Opinion and Order, entered at ECF

No. 137 and dated April 7, 2023.

April 7, 2023
OF COUNSEL:

SAMUEL R. BAGENSTOS
General Counsel

MARK RAZA

Associate General Counsel

U.S. Department of Health
and Human Services

Chief Counsel

Food and Drug Administration

Respectfully submitted,

BRIAN M. BOYNTON
Principal Deputy Assistant Attorney General

Eric B. BECKENHAUER
Assistant Director

/s/ Daniel Schwei

DANIEL SCHWEI

Special Counsel

JULIE STRAUS HARRIS
Senior Trial Counsel
CHRISTOPHER A. EISWERTH
EMILY NESTLER

KATE TALMOR

Trial Attorneys

Federal Programs Branch
Civil Division

U.S. Department of Justice
1100 L St., NW
Case: 23-10362 Document:1 Page:2 Date Filed: 04/10/2023
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Washington, DC 20005
202-305-8693
daniel.s.schwei@usdoj.gov

ARUN G. RAO
Deputy Assistant Attorney General

AMANDA N. LISKAMM
Acting Director

HILARY K. PERKINS
Assistant Director

Noad T. KATZEN
Trial Attorney
Consumer Protection Branch
